—

’ sd

oO of sO UW ft OY ON

NM Nw Hw NN BD ROR me eee
a BO NSS OC lah ON

28

HAPUBLICW54493\06097 1
Mclntesh v. Northem(DCL
OF JAT ISO PLTFS OPP TO
DEFS MOT ALTER
AMEND ETC. wed.

_ ENTERPRISES COMPANY, a California

Case 1:07-cv-01080-LJO-GSA Document 397-1 Filed 07/02/10 Page 1 of 6

James J. Braze, Esq.; SBN 75911
Jeffrey A. Travis, Esq.; SBN 235507
BORTON PETRINI, LLP

5060 California Avenue, Suite 700
Post Office Box 2026

Bakersfield, CA 93303

Telephone (661) 322-3051

email: jbraze@bortonpetrini.com
email: jtravis@bortonpetrini.com

Attorneys for Plaintiff, Roger McIntosh dba McIntosh
& Associates

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA, FRESNO DIV. ISION

ROGER McINTOSH,
Plaintiff,
Vv.
NORTHERN CALIFORNIA UNIVERSAL

corporation, LOTUS DEVELOPMENTS,
LLP; THE CITY OF WASCO, a municipal
corporation; DEWALT CM, INC., a California
corporation also doing business as DEWALT
CORPORATION; and DOES 1 through 10,
inclusive

Defendants.

CITY OF WASCO,
Cross-Complaint,

V5.

NORTHERN CALIFORNIA UNIVERSAL
ENTERPRISES COMPANY, INC.,

Cross-Defendant.

Case No. 1:07-CV- 01080 LJO-GSA

DECLARATION OF JEFFREY A. -_
TRAVIS IN SUPPORT OF PLAINTIFF
ROGER McINTOSH'S OPPOSITION TO
THE MOTIONS TO ALTER OR AMEND
THE JUDGMENT OR IN THE
ALTERNATIVE FOR A NEW TRIAL BY
DEFENDANTS, NORTHERN
CALIFORNIA UNIVERSAL
ENTERPRISES, LOTUS
DEVELOPMENTS, LLP, AND

DENNIS W. DEWALT, INC.

L JEFFREY A. TRAVIS, state and if so called will testify as follows:

1. Jam an attorney for the Plaintiff in the above-referenced matter and have been

1

DEC. OF JAT ISO PLTFS OPP. TO DEFS MOT ALTER AMEND ETC.

Oo oe ND DR A BF BD Ne

me MM NOR RNR RR rs Se
— RR OA & YY PH -& BD Oo we HI DH WwW fF YW KH | &

28

HAPUBLIC\054493\060971
McIntosh v. Northern\DCL
OF JAT [SO PLTFS OPP TO
DEFS MOT ALTER
AMEND ETC. wpd

Case 1:07-cv-01080-LJO-GSA Document 397-1 Filed 07/02/10 Page 2 of 6

responsible for preparing, reviewing, instructing and conducting discovery and investigation of the
facts surrounding this matter, in addition to being familiar with the proceedings at trial.

2. I am duly licensed to practice in the State of California and also licensed to
practice in the Eastern District of California.

3. Attached hereto as Exhibit "1" is a true and correct copy of Exhibit "P-108",
admitted into evidence at trial.

4, Attached hereto as Exhibit "2" is a true and correct copy of Exhibit "P-112"
admitted into evidence at trial.

5. Attached hereto as Exhibit "3" is a true and correct copy of Exhibit "P-113"
admitted into evidence at trial.

6. Attached hereto as Exhibit "4" is a true and correct copy of Exhibit "P-114"
admitted into evidence at trial.

7. Attached hereto as Exhibit "5" is a true and correct copy of Exhibit "P-115"
admitted into evidence at trial.

8. Attached hereto as Exhibit "6" is a true and correct copy of Exhibit "D-217"
pages 1 through 7, admitted into evidence at trial.

9. Attached hereto as Exhibit "7" is a true and correct copy of Exhibit "J-1"
admitted into evidence at trial.

10. Attached hereto as Exhibit "8" is a true and correct copy of Exhibit "J-3" page
1, admitted into evidence at trial.

11. Attached hereto as Exhibit "9" is a true and correct copy of Exhibit "J-4"
admitted into evidence at trial.

12. Attached hereto as Exhibit "10" is a true and correct copy of Exhibit "J-8"
pages 224 - 224-23, admitted into evidence at trial.

13. Attached hereto as Exhibit "11" is a true and correct copy of Exhibit "J-10",
Cover page, and pp. 5, 10, 11, 15 and Appendix Maps, admitted into evidence at trial. _

14. Attached hereto as Exhibit "12" is a true and correct copy of Exhibit "J-16"

page 1, admitted into evidence at trial.

2
DEC. OF JAT ISO PLTFS OPP. TO DEFS MOT ALTER AMEND ETC.

Oo © ~4 SN Ww F&F WH NY He

wm N NM PN NY NB He OR Pe Se Se Se SU lL Ue
aT A to eB HULU UNC Dt ONO

28

HAPUBLIC\054493:06097 1
McIntosh v. Northern\DCL
OF JAT ISO PLTFS OPP TO
DEFS MOT ALTER
AMEND ETC.wpd

Case 1:07-cv-01080-LJO-GSA Document 397-1 Filed 07/02/10 Page 3 of 6

15. Attached hereto as Exhibit "13" is a true and correct copy of Exhibit "J-18"

admitted into evidence at trial.

16. Attached hereto as Exhibit "14" is a true and correct copy of Exhibit "J-19"
Relevant Selected Portions, admitted into evidence at trial.

17. Attached hereto as Exhibit "15" is a true and correct copy of Exhibit "J-24"

admitted into evidence at trial.

18. Attached hereto as Exhibit "16" is a true and correct copy of Exhibit "J-32"
admitted into evidence at trial. .

19. Attached hereto as Exhibit "17" is a true and correct copy of Exhibit "J-41"

admitted into evidence at trial.

20. Attached hereto as Exhibit "18" is a true and correct copy of Exhibit "J-44"

admitted into evidence at trial.

21. Attached hereto as Exhibit "19" is a true and correct copy of Exhibit "J-46"

admitted into evidence at trial.

29. Attached hereto as Exhibit "20" is a true and correct copy of Exhibit "J-47"

admitted into evidence at trial.

23. Attached hereto as Exhibit "21" is a true and correct copy of Exhibit "J -48"

admitted into evidence at trial.

24. Attached hereto as Exhibit "22" is a true and correct copy of Exhibit "J-49"

admitted into evidence at trial.

25. Attached hereto as Exhibit "23" is a true and correct copy of Exhibit "J-50"

admitted into evidence at trial.

26. Attached hereto as Exhibit "24" is a true and correct copy of Exhibit "J-53"

admitted into evidence at trial.

27. Attached hereto as Exhibit "25" is a true and correct copy of Exhibit "J-54"

admitted into evidence at trial.

28. Attached hereto as Exhibit "26" is a true and correct copy of Exhibit "J-55"

admitted into evidence at trial.

3
DEC. OF JAT ISO PLTFS OPP. TO DEFS MOT ALTER AMEND ETC.

oOo Oo ~2Y DH vA FS WY LY

yA OA BUN Ul OlUlUlU OUCH OD

HAPUBLIC\054493\060971
Melntosh v. Northern\DCL
OF JAT ISO PLTFS OPP TO
DEFS MOT ALTER

Case 1:07-cv-01080-LJO-GSA Document 397-1 Filed 07/02/10 Page 4 of 6

29. Attached hereto as Exhibit "27" is a true and correct copy of Exhibit "J-56"
admitted into evidence at trial.

30. Attached hereto as Exhibit "28" is a true and correct copy of Exhibit "J-57"
admitted into evidence at trial.

31. Attached hereto as Exhibit "29" is a true and correct copy of Exhibit "J-58"
admitted into evidence at trial. . .

32. Attached hereto as Exhibit "30" is a true and correct copy of Exhibit "J-59"
admitted into evidence at trial.

33. Attached hereto as Exhibit "31" is a true and correct copy of Exhibit "J-60"
admitted into evidence at trial.

34. Attached hereto as Exhibit "32" is a true and correct copy of Exhibit "J-73"
pages land 2, admitted into evidence at trial. .

35. Attached hereto as Exhibit "33" is a true and correct copy of Exhibit "J-87",
pages 1 and 7, admitted into evidence at trial.

36. Attached hereto as Exhibit "34" is a true and correct copy of Exhibit "J-133"
admitted into evidence at trial.

37. Attached hereto as Exhibit "35" is a true and correct copy of Exhibit "J-134"
admitted into evidence at trial.

38. Attached hereto as Exhibit "36" is a true and correct copy of Exhibit "J-135"
admitted into evidence at trial.

39, Attached hereto as Exhibit "37" is a true and correct copy of Special Jury
Instructions No. 17 (Stipulated Facts 18 and 19) and Instruction Nos. 32 and 34, filed as Document
No, 320.

40. Attached hereto as Exhibit "38" is atrue and correct copy of Plaintiff's Third
Amended Complaint filed as Document No. 76.

41. Attached hereto as Exhibit "39" is a true and correct copy of this Court's
Summary Judgment/Adjudication Order, page 28 filed as Document No. 186.

42. Attached hereto as Exhibit "40" is a true and correct copy ofall parties’ Jointly

4
DEC. OF JAT ISO PLIFS OPP. TO DEFS MOT ALTER AMEND ETC.

DP oo SN DO A SF HY YS

mb NM NM NY ON ON ON NSE Se Se PO Se SE el lh lL
~] ao un > Li Bho —_ > Oo oo ~~ Oo LA i La Noe o

28

HiAPUBLICN054493406097 1
McIntosh v, Northem\DCL
OF JAT ISO PLTFS OPP TO
DEFS MOT ALTER
AMEND ETC.wpd

Case 1:07-cv-01080-LJO-GSA Document 397-1 Filed 07/02/10 Page 5 of 6

Proposed Jury Instructions, filed as Document No. 259, Instruction Nos. 17.0 and_17.20.

43. Attached hereto as Exhibit "41" is a true and correct copy ofall parties’ Jointly
Proposed Verdict Form, Nos. 19 - 24, filed as Document No. 299. .

44. Attached hereto as Exhibit "4" is a true and correct copy of the Jury Verdict,
filed as Document No. 328, Nos. 17 - 22, and 32 - 33.

45. Attached hereto as Exhibit "43"is a true and correct copy of relevant portions
of the Reporter's Transcript of Trial. Although only relevant portions of the transcript are submitted
in support of this opposition, those portions are set forth in this Exhibit chronologically and
underlined.
I declare under penalty of perjury, under the laws of the State of California, that the

foregoing is true and correct.

Executed this 2nd day of July, 2010, at Bakersfield, California.

\M.

Je Spravis, Declarant

5
DEC. OF JAT ISO PLTFS OPP. TO DEFS MOT ALTER AMEND ETC.

io. NOD DOW

ha bo ho bo bo bo No Ba e = oe 1 a — — _ — —=
~~] oN wa - Ww Bho — oS \O ~ ~~] aN Lan > La to — >

28

HAPUBLIC\054493\06097 1
McIntosh v. Northen\DCL
OF JAT ISO PLTFS OPP TO
DEFS MOT ALTER
AMEND ETC. wpd

Case 1:07-cv-01080-LJO-GSA Document 397-1 Filed 07/02/10 Page 6 of 6

PROOF OF SERVICE
(FRCP No. 5(b)(2)(E))

STATE OF CALIFORNIA, COUNTY OF KERN
I, Vanessa J. Claridge, declare:

Lam a citizen of the United States. I am employed in the County of Kern, State of
California. I am over the age of 18 and not a party to the within action; my business address
is 5060 California Avenue, Suite 700, Bakersfield, California 93309. ~

On July 2, 2010, I served the foregoing document described as DECLARATION
OF JEFFREY A. TRAVIS IN SUPPORT OF PLAINTIFF ROGER McINTOSH'S
OPPOSITION TO THE MOTIONS TO ALTER OR AMEND THE JUDGMENT OR
IN THE ALTERNATIVE FOR A NEW TRIAL BY DEFENDANTS, NORTHERN
CALIFORNIA UNIVERSAL ENTERPRISES, LOTUS DEVELOPMENTS, LLP,

AND DENNIS W. DEWALT, INC. on the other party(ies) in this action as follows:

Steven John Hassing, Esq. Attorneys for Attorneys for Defendants,
Law Offices of Steven J. Hassing Northern California Universal Enterprises
425 Calabria Court Company and Lotus Development
Roseville, CA 95747 Tel: 916/677-1776 .

email address: stevehassing@yahoo.com Fax: 916/677-1770

Chaka Okadigbo, Esq. Attorneys for Def./Appellant, City of Wasco
GCR, LLP

520 S. Grand Ave, Suite 695 Tel: 213/347-0210

Los Angeles, CA 90071 Fax: 213-347-0216

email address: cokadigbo@gcrlegal.com

Ann T. Schwing, Esq.
McDonough Holland & Allen PC
500 Capitol Mall, 18th Floor
Sacramento, CA 95814-4704
email address:

William L. Alexander, Esq.
Alexander & Associates
1925 "G" Street
Bakersfield, CA 93301

email address: walexander@alexander-law.com
Pursuant to Fed. R. Civ. P. 5(b)(2)(E) and Local Court

BY ELECTRONIC SERVICE:

Attorneys for Def./Appellant, City of Wasco
Tel: 916/444-3900

Fax: 916/444-8334

Attorneys for Defendant, DeWalt CM, Inc.

Tel: 661/316-7888
Fax: 661/316-7890

Rule(s), the foregoing document will be served by the court via CM/ECF. Pursuant to the
CM/ECF docket for this case proceeding the following person(s) are on the Electronic Mail
Notice List to receive ECF transmission at the email address(es) indicated below:

BY MAIL: As follows: | am "readily familiar" with the firm's practice of collection and
processing correspondence for mailing. Under that practice it would be deposited with U.S.
postal service on that same day with postage thereon fully prepaid at , California in the
ordinary course of business. I am aware that on motion of the party served, service is
presumed invalid if postal cancellation date or postage meter date is more than one day after
date of deposit for mailing in affidavit.

Executed on July 2, 2010, at Bakersfield, California.
I declare that I am employed in the office of a member of the bar of this court at
whose direction the service was made.

Vanessa J. Claridge /s/ Vanessa J. Claridge

6

DEC. OF JAT ISO PLTFS OPP. TO DEFS MOT ALTER AMEND ETC.

